6/10/24, 7:50 AM        Case 2:24-cv-01711-KBH    Document
                                         LOMBARDO AMENDED    13-1 COMPLAINT
                                                          DEFAMATION Filed 06/08/24          Pageby1Box
                                                                              (V. 4).pdf | Powered   of 2
 [Clerks Office Only]
 Submission Details
 No Value

 Name:
 Michael Lawrence Lombardo

 Email Address:
 If you provide your email address you are consenting to service by email. You will receive notice of court documents, as well as documents filed by
 other parties in the case, at the email address you provide and not via U.S. mail
 iamthemichaellawrence@gmail.com

 Phone Number
 315-225-5429

 Are you filing a new case?
 If you are filing a new case, you must pay the filing fee and administrative fee to the Clerk of Court to proceed with your case. If you cannot afford to
 pay those fees, you must file a motion to proceed without prepayment of the fees, known as a motion to proceed in forma pauperis. Please see the
 Court’s website for instructions regarding how to pay the fees and forms for proceeding in forma pauperis.
 No, I'm not filing a new case.

 Case Caption
 Enter the caption of the case in which you are filing the same way that the case caption appears on the docket. If you are filing a new case, enter
 NEW CASE in the field below.
 LOMBARDO v. LEONARD et al

 Case Number
 Enter the number of the case in which you are filing. To file a document in more than one case, you must complete this form for each case in which
 you would like to file the document. Failure to include your case number may result in processing delays and/or the misfiling of your paper. If you do
 not know your case number, you can contact the Clerk’s Office by emailing PAED_clerksoffice@paed.uscourts.gov. If you are filing a new case, enter
 NEW CASE in the field below.
 2:24-cv-01711-KBH

 Description of Document(s)
 Please provide a brief description of the document or documents that you are filing. For example, some common submissions are “Complaint,” “Motion
 to Proceed In Forma Pauperis,” “Amended Complaint,” “Motion,” “Response,” “Notice,” “Exhibit.” The description will assist the Clerk’s Office in timely
 processing your document and will not necessarily appear on the docket.
 Response to Motion to Dismiss & Amended Complaint

 Terms of Submission
 By submitting these documents to the Court, I represent the following: (1) I am intending to file, or am submitting on behalf of an individual who
 intends to file, the attached document(s) with the United States District Court for the Eastern District of Pennsylvania. (2) This filing is made in
 compliance with Federal Rule of Civil Procedure Rule 11, which requires me to sign documents that I submit to the Court for filing, and all applicable
 statutes and court rules to the best of my ability. (3) I consent to accept service of all notices and papers regarding this case at the email address I
 have provided. I understand that I will no longer receive service of orders and other court documents by mail. I agree to promptly notify the Clerk of
 Court if there is any change to my email address. (4) I understand that use of the EDS system may be terminated for non-compliance or abuse of this
 privilege.
 Yes

 Do you have a mailing address?
 Yes

 Select 'Yes' if you do not have a mailing address.
 No Value

 Mailing Address Line 1
 Please include a current mailing address where you can be reached by the Court. Enter N/A if you do not have a mailing address.
 45 Laurel Trail

 Mailing Address Line 2
 No Value

 City:
 Enter NA if not applicable.
 Monroe

 State:
 Enter NA if not applicable.
 NY

 Zip Code:
 Enter NA if not applicable.
 10950



https://paed-circ3-dcn.app.box.com/file/1554971695005?sb=/metadata                                                                                           1/2
6/10/24, 7:50 AM    Case 2:24-cv-01711-KBH    Document
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